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   PRELIMINARY EXPERT REPORT AND INVESTIGATION REGARDING THE SONG
   "ALGO DIFERENTE" ORIGINALLY COMPOSED BY RENÉ LORENTE AND
   ALLEGEDLY PLAGIARIZED IN THE SONG "DON'T BE SHY" BY MEGA-ARTISTS
   TIËSTO, KAROL G, AND ATLANTIC RECORDING CORPORATION, COPYRIGHT
   INFRINGEMENT, VIOLATION OF COPYRIGHT RIGHTS, MORAL RIGHTS, AND
   ECONOMIC RIGHTS UNDER TITLE 17 OF THE COPYRIGHT ACT.

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         René Lorente García a/k/a René Lorente et al
         Plaintiffs,
         v
         Tijs Michiel Verwest a/k/a Tiësto
         Carolina Giraldo Navarro a/k/a Karol G
         a/k/a La Bichota,
         Yoshi L H Breen,
         Teemu William Brunila,
         Jonas David Kroper a/k/a Jonasu,
         Musical Freedom Publishing, Musical Freedom Publishing
         c/o Kobalt Songs Music Publishing,
         Karol G Music Production Publishing,
         Karol G Music Production Publishing
         c/o Songs of Kobalt Music Publishing.,
         Strengholt Music Publishing BV
         c/o BMG Platinum Songs US, BMG Platinum Songs US,
         SONY Music Publishing BV
         c/o SONY/ATV Tunes LLC.,
         SONY Music Publishing UK Limited
         c/o SONY/ATV Tunes LLC.,
         Atlantic Records, Atlantic Recording Corporation,
         Musical Freedom Records,
         Musical Freedom, LLC.
         c/o Atlantic Recording Corporation. et al.
         Defendants



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         Conducted during the months of July and August of 2023
             and concluded on TUESDAY, August 22, 2023 by:
     Richie Viera (Expert in Entertainment Law Cases, Musicologist,
                          Copyright Specialist)

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               MUSIC AND ENTERTAINMENT INDUSTRY WITNESS
         EXPERT IN DAMAGE CASES IN THE ENTERTAINMENT INDUSTRY
      IN MORAL RIGHTS, AUTHORAL RIGHTS, COPYRIGHT INFRINGEMENT
                        REGISTRATION OF TRADEMARKS
                     IN SUPERIOR COURT OF PUERTO RICO
               U.S. FEDERAL DISTRICT COURT OF PUERTO RICO
             UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                       DISTRICT OF NEW YORK & BOSTON
    ARTS & CULTURE CONSULTANT, WRITER, TV AND RADIO HOST PRODUCER,
                               MUSICOLOGIST,
              RECORDS VINYL EXPERT, HISTORIAN, SEMINARIST,
                AGENT & ARTIST AND ORCHESTRAS MANAGER,
     RECORD PRODUCER, NATIONAL AND INTERNATIONAL ENTERTAINMENT
                                 PRODUCER ,
              EXPERT MAKING COMPILATIONS OF RECORDINGS
             AND STORIES, RE-EDITING CLASSIC AND HISTORICAL
          RECORDINGS OF HISTORICAL COMPANIES IN VINYL BOX SET
                               AND DELUXE CDS
                     SOUND ENGINEERING AND MASTERING




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   PRELIMINARY EXPERT REPORT AND INVESTIGATION REGARDING THE SONG
   "ALGO DIFERENTE" ORIGINALLY COMPOSED BY RENÉ LORENTE AND
   ALLEGEDLY PLAGIARIZED IN THE SONG "DON'T BE SHY" BY MEGA-ARTISTS
   TIËSTO, KAROL G, AND ATLANTIC RECORDING CORPORATION, COPYRIGHT
   INFRINGEMENT, VIOLATION OF COPYRIGHT RIGHTS, MORAL RIGHTS, AND
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         René Lorente García a/k/a René Lorente et al
         Plaintiffs,
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         Musical Freedom Publishing, Musical Freedom Publishing
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         c/o Songs of Kobalt Music Publishing.,
         Strengholt Music Publishing BV
         c/o BMG Platinum Songs US, BMG Platinum Songs US,
         SONY Music Publishing BV
         c/o SONY/ATV Tunes LLC.,
         SONY Music Publishing UK Limited
         c/o SONY/ATV Tunes LLC.,
         Atlantic Records, Atlantic Recording Corporation,
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   I. INTRODUCTION

   Renowned artist, musician, composer, and arranger Professor René
   Lorente García has engaged our professional services as Experts
   in the Entertainment Industry to conduct a Report and Expert
   Investigation concerning allegations of Plagiarism, Copyright
   Infringement, and Damages raised in the federal lawsuit; René
   Lorente García a/k/a René Lorente et al. v Tijs Michiel Verwest
   a/k/a Tiësto, Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota, Yoshi L H Breen, Teemu William Brunila, Jonas David
   Kroper a/k/a Jonasu, Musical Freedom Publishing, Musical Freedom
   Publishing c/o Kobalt Songs Music Publishing, Karol G Music
   Production Publishing, Karol G Music Production Publishing c/o
   Songs of Kobalt Music Publishing., Strengholt Music Publishing
   BV c/o BMG Platinum Songs US, BMG Platinum Songs US., SONY Music
   Publishing BV. c/o SONY/ATV Tunes LLC., SONY Music Publishing UK
   Limited c/o SONY/ATV Tunes LLC., Atlantic Records, Atlantic
   Recording Corporation, Musical Freedom Records, Musical Freedom,
   LLC. c/o Atlantic Recording Corporation., et al., filed in
   August 2023 in the United States District Court for the District
   of Puerto Rico.

   The purpose of this report is to assess the allegations made by
   the original composer of the musical composition titled "Algo
   Diferente," René Lorente, in relation to plagiarism, violation
   of copyright rights, violation of moral rights, violation of
   economic rights, unauthorized use, and other infringements
   associated with the alleged plagiarism in the song "Don't Be
   Shy."

   In response to the request, a comprehensive analysis of the
   plagiarism claims and other copyright-related violations
   concerning the song "Don't Be Shy," globally published and
   popularized by artists Tiësto and Karol G, in collaboration with
   the record label Atlantic Recording Corporation, has been
   conducted.

   II. FINDINGS AND EVALUATION:

   Following an in-depth analysis of the presented allegations and
   a detailed comparison between the songs "Algo Diferente"
   composed by René Lorente and popularized by the artist and
   musician René Lorente, and "Don't Be Shy" by alleged composers
   Tijs Michiel Verwest a/k/a Tiësto, Carolina Giraldo Navarro
   a/k/a Karol G a/k/a La Bichota, Yoshi L H Breen, Teemu William
   Brunila, Jonas David Kroper a/k/a Jonasu, and performed by mega


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   artists Tiësto and Karol G, released and distributed globally in
   physical, video, and digital formats by the multinational
   company Atlantic Recording Corporation, the following findings
   have been identified:

   [a] The original composition "Algo Diferente," also known as
   "Emociones," was created twenty-five (25) years ago,
   specifically in the year 1998, and is 100% authored by the
   renowned artist, musician, composer, and arranger Professor René
   Lorente García.

   [b] The composition titled "Algo Diferente" was registered with
   the United States Copyright Office on May 30, 2000, where the
   Register of Copyrights, Marybeth Peters, affixed the official
   seal of the Copyright Office of the United States Library of
   Congress and signed the Certification of Registration, assigning
   it the official registration number; Pau 2-496-298.


   See : CERTIFICATE OF REGISTRATION

          Work                                 :       “ALGO DIFERENTE”
                                                       a/k/a EMOCIONES
          Author                               :       René Lorente
          Number of Registration               :       Pau 2-496-298
          Effective Day of Registration        :       May 30, 2000




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   [c] The composer René Lorente is a member of the United States
   and Puerto Rico Performing Rights Society; American Society of
   Composers, Authors and Publishers, known by its acronym as
   ASCAP, and holds the affiliated composer number; ID 1631767.

   Name of the Composer                 :RENÉ LORENTE
   Performance Right Organization       :ASCAP
   ID Composer Number                   :1631767

   [d] The composition 'Algo Diferente' was registered with the
   United States and Puerto Rico Performing Rights Society, ASCAP,
   on March 1, 2006, with the WORD ID # 311836912.

   Title of the Composition             :ALGO DIFERENTE
   Name of the Composer                 :RENÉ LORENTE
   Percentage of Authorship             :100 %
   Performance Right Organization       :ASCAP
   WORK ID Number                       :311836912

   PRODUCTION 1 :        ENRIQUE CHIA PRESENTA
                         RENÉ LORENTE Y SU FLAUTA CUBANA
                         2001

   [e] The composition "Algo Diferente" was included and published
   in three recorded productions that were manufactured in physical
   CD format as follows:

   [f.1] The record label Begui Records published in the year 2001
   the production by artist René Lorente titled: "Enrique Chia
   presents René Lorente and his Cuban Flute" containing the
   composition: "Algo Diferente" under the catalog number and
   selection BRCD-2151-2.




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   [ Art CD Front Cover ]


   Artist / Orchestra     :   RENÉ LORENTE
   Title of Production    :   ENRIQUE CHÍA PRESENTA A
             RENÉ LORENTE Y SU FLAUTA CUBANA
   Record Company         :   Begui Records
   Selection Number       :   BR-2151-2
   Year of Publication    :   October 9, 2001

   Songs included in this production :

   01. Son de La Loma / A Loma de Belén / Pica Mi Caballo
   02. Capullito de Alelí
   03. Cha Cha Charanga / La Engañadora / Silver Star / Unión
   Cienfueguera
   04. El Manisero
   05. Latin-Swing / Presente y Recuerdos
   06. Moonlight Serenade
   07. Cachita
   08. Cha Cha Charanga : Me Lo Dijo Adela / Rico Vacilón / El
   Bodeguero
   09. Latin-Swing : Algo Diferente
   10. Son- Cachita Swing : Campanitas de Cristal / Y Tú Que Has Hecho /
   Ahora Seremos Felices
   11. Latin-Swing : Summertime
   12. Bonus : La Flauta Mágica ( Solo de Flauta )

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   PRODUCTION 2 :        RENÉ LORENTE
                         MADERA & METAL
                         2003


   The song “Algo Diferente” was included and published in three (
   3 ) record productions that were manufactured in CD format, as
   follows:

   The record company Hamelin Records published in the year 2003
   the production of the artist René Lorente titled “Madera &
   Metal” containing the composition “Algo Diferente” under catalog
   number and selection HR-2702.




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   [ Art CD Front Cover ]


   Artist / Orchestra           :     RENÉ LORENTE
   Title of Production          :     MADERA & METAL
   Record Company               :     Hamelin Records
   Selection Number             :     HR - 2702
   Year of Publication          :     2003

   Songs included in this production :

   01. Algo Diferente
   02. La Engañadora / Silver Star / Unión Cienfueguera
   03. El Manisero
   04. Moonlight Serenade
   05. Capullito de Alelí
   06. Cachita
   07. Me Lo Dijo Adela / Rico Vacilón / El Bodeguero
   08. Presente y Recuerdos
   09. Campanitas de Cristal / Y Tú Que Has Hecho / Ahora Seremos
   Felices
   10. Summertime
   11. La Flauta Mágica




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   PRODUCTION 3 :         RENÉ LORENTE
                          ALGO DIFERENTE
                          2007


   The song “Algo Diferente” was included and published in three (
   3 ) record productions that were manufactured in CD format, as
   follows:

   The record company Mojito Records published in the year 2007 the
   production of the artist René Lorente titled “Algo Diferente”
   containing the composition “Algo Diferente” under catalog number
   and selection MR-601132




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   [ Art CD Front Cover ]


   Artist / Orchestra           :     RENÉ LORENTE
   Title of Production          :     ALGO DIFERENTE
   Record Company               :     Mojito Records
   Selection Number             :     MR - 601132
   Year of Publication          :     2007

   Songs included in this production :
   01. Algo Diferente
   02. Love Will Keeps Us Together
   03. Presente y Recuerdos
   04. Till There Was You
   05. Un Danzón para Arcaño
   06. Summertime
   07. Rosy
   08. Moonlight Serenate
   09. Me Lo Dijo Adela / Rico Vacilón / El Bodeguero
   10. Do That To Me One More Time
   11. A Mi Manera
   12. Mira A Ver Quien Es
   13. Campanitas de Cristal Y Tu Que Has Hecho / Ahora Seremos
   Felices
   14. Los Marcianos / El Maletero / La Basusa


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   III. RENÉ LORENTE [THE MAN AND HIS MUSIC]

   René Lorente García is also known as "The Latin Hamelin" and
   holds several capacities and roles in the music industry,
   including being a virtuoso performer on the flute (a student
   during his adolescence and later a colleague of Antonio Arcaño
   Betancourt "Arcaño," renowned as one of the world's finest
   flutists). He is the founder of La Maravilla de Arcaño, later
   known as Arcaño y sus Maravillas, with numerous abilities in
   music interpretation and creation. He is a composer of numerous
   musical works and a musical arranger.

   René Lorente plays two types of flutes: the 5-key wooden flute,
   which makes him unique in the world (as very few play the 5-key
   wooden flute, especially since it is no longer manufactured),
   and the metal flute.

   He served as the substitute flutist for the maestro and director
   Richard Egues in the Orquesta Aragón de Cuba (an orchestra
   honored by UNESCO with the Pablo Picasso Medal and declared a
   UNESCO World Heritage in 2005).

   René Lorente is regarded as a virtuoso flute performer. In 1998,
   he composed and created the composition titled "Algo Diferente,"
   which has become his signature wherever he performs, be it in
   live shows, television appearances, or private events. "Algo
   Diferente" is the most significant piece of his artistic career
   and the one for which he has gained fame.

   René Lorente's instrumental and lyrical musical compositions are
   primarily based on his creative inspiration. He always seeks a
   danceable "beat" in his creations, guided by the Cuban Clave,
   which seamlessly fits into various styles such as Pop, House,
   Latin Jazz, and other genres.

   His approach to work has always been defined and 100% original.
   As an artist and musician, he is known for composing both
   instrumental and lyrical pieces that are entirely danceable.




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   [a] VIDEO FROM THE YEAR 2008
   René Lorente has been interviewed and featured on various
   international television programs in the United States and
   Puerto Rico, such as the program "Noche de Estrellas" on April
   8, 2008, where he performed his major hit, "Algo Diferente."

   Program: Noche de Estrellas
   Artist: René Lorente
   Song: "Algo Diferente"
   Published: April 8, 2008




   Link :
   https://www.youtube.com/watch?v=tGAjj5MGJPY


   [b] VIDEO OF THE YEAR 2012
   René Lorente has his own YouTube channel where for over a decade
   he has presented and published his compositions and songs,
   including his major hit "Algo Diferente" in 2012, performed with
   his unique 5-key wooden flute.

   René Lorente's YouTube Channel
   Artist: René Lorente
   Instrument: 5-Key Wooden
   Flute Song: "Algo Diferente"
   Published: July 12, 2012




   Link :
   https://www.youtube.com/watch?v=06WxnTbdgF4


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   [C] COVER AUDIO VIDEO OF THE YEAR 2015
   On March 21, 2015, The Orchard Enterprises released the cover
   audio of his major hit "Algo Diferente" from the musical
   production titled "René Lorente 'Algo Diferente'" published by
   the record label Mojito Records.

   Cover Audio on René Lorente's YouTube Channel A
   rtist: René Lorente
   Song: "Algo Diferente"
   Published: March 21, 2015 by The Orchard Enterprises




   Link
   https://www.youtube.com/watch?v=-
   9e6ExvbogA&list=OLAK5uy_lEqw1PvaQLbEAFos-2dD7QafY2HDUjD7A




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   IV. ORIGINALITY OF THE SONG "ALGO DIFERENTE"

   The composition titled "Algo Diferente" was created with 100%
   originality by the artist, musician, composer, and arranger René
   Lorente in 1998, through the combination of elements such as
   melody, harmony, and rhythm.

   The title "Algo Diferente" confirms that this piece has a
   distinctive quality, a "beat."

   René Lorente is the original and sole author of the work,
   meaning he is the person who created the musical piece,
   confirming that it is NOT a copy, imitation, or adaptation of a
   pre-existing work.

   René Lorente's instrumental and lyrical musical compositions are
   primarily based on his creative inspiration. He always seeks a
   danceable "beat" in his creations, guided by the Cuban Clave,
   which seamlessly fits into various styles such as Pop, House,
   Latin Jazz, and other genres.

   His approach to work has always been defined and 100% original.
   As an artist and musician, he is known for composing both
   instrumental and lyrical pieces that are entirely danceable.

   René Lorente holds various capacities and roles in the music
   industry, including being a virtuoso performer on the flute (a
   student during his adolescence and later a colleague of Antonio
   Arcaño Betancourt "Arcaño," renowned as one of the world's
   finest flutists). He is the founder of La Maravilla de Arcaño,
   later known as Arcaño y sus Maravillas, with numerous abilities
   in music interpretation and creation. He is a composer of
   numerous musical works and a musical arranger.

   He served as the substitute flutist for the maestro and director
   Richard Egues in the Orquesta Aragón de Cuba (an orchestra
   honored by UNESCO with the Pablo Picasso Medal and declared a
   UNESCO World Heritage in 2005).

   In 1998, the composition "Algo Diferente" was created:
   Understanding the chronology of the creation of the composition
   "Algo Diferente" is crucial. It was composed in 1998, which
   establishes a significant difference between the year of its
   creation, 1998, and the alleged plagiarism published under the
   title "Don't Be Shy" in the year 2021.




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   When René Lorente composed "Algo Diferente" in 1998, the alleged
   composers had the following ages and had no intention of being
   part of the entertainment industry:

   Carolina Giraldo Navarro, artistically known as Karol G and La
   Bichota, was born on February 14, 1991, in Medellin, Colombia.
   When René Lorente composed "Algo Diferente," the artist known
   today as Karol G was merely 7 years old and had no inclination
   to become an artist, let alone a composer.

   Teemu William Brunila was born in 1990 in Mannheim, Germany.
   When René Lorente composed "Algo Diferente," the artist Teemu
   Brunila was only 8 years old and had no thoughts of becoming an
   artist or composer.

   "Algo Diferente" was created 25 years before "Don't Be Shy" was
   published.




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   V. THE BATTLE FOR ACQUIRING SHARES IN EXTERNAL COMPOSITIONS, A
   PRE-ESTABLISHED AND ORGANIZED THEFT ON HOW TO ACHIEVE IT

   In the urban and reggaeton music movement, there exists a
   pattern of theft, copyright infringement, and plagiarism carried
   out solely for economic interests and with an organized agenda
   to deceive. This is due to the fact that most urban and
   reggaeton performers are not composers and resort to stealing,
   violating copyright rights, and plagiarizing well-known songs
   for various reasons. One of these reasons is to gain the
   attention of the youth and achieve instant success by exposing
   the songs to new ears. The proper course of action would be to
   request permission from the copyright holder to make changes to
   the lyrics or music for a new version and negotiate a new
   distribution of royalty percentages (shares). The primary author
   should retain the majority of the percentage as the composition
   belongs to them, deciding what share of the royalty division
   they are willing to grant to the creator of the new version.

   This approach is not favored by urban and reggaeton musicians
   because they view it as an economic disadvantage worth millions
   of dollars (it's simply not profitable for them). Urban and
   reggaeton music artists have become millionaires by taking,
   stealing, and fighting for the acquisition of percentage shares
   in musical compositions. We frequently observe highly commercial
   songs becoming global hits, yet these songs lack depth and are
   characterized by repetitive lyrics. In the song credits, we
   often see eight (8) to ten (10) authors listed for such
   compositions, indicating a scramble to acquire a share of the
   composition, often followed by buying a certain percentage
   share. This enables them to later reap millions of dollars in
   author royalties.

   Urban and reggaeton music artists follow a rule in their
   actions: "It's better to ask for forgiveness than to ask for
   permission." This is how they take, steal, and plagiarize
   numerous compositions. They have realized that it's economically
   more lucrative to plagiarize, steal, and infringe on copyright
   holders' rights. If they were to ask for proper permissions,
   they would have to negotiate the percentage share they can
   obtain from the copyright holder. In such cases, the copyright
   holder, who owns 100% of the composition, might only grant a 5%
   or 10% share for the new version, retaining 90% of the income.




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   The urban and reggaeton artists know for certain that it's more
   profitable to plagiarize, steal, and infringe on copyright
   holders' rights because composers of plagiarized works must
   invest thousands of dollars in hiring specialized copyright law
   attorneys to pursue actions in Federal Court.

   The artists committing plagiarism are backed by entertainment
   legal firms contracted by or associated with multinational
   record labels. In many cases, the artists and composers involved
   in plagiarism contribute nothing financially to the legal
   actions; the record label covers all costs.

   These urban and reggaeton music artists, along with
   multinational record labels, subsequently seek to negotiate an
   agreement, offering a 5% or 10% share in the pro-rata
   distribution of percentages (share) for the composition that
   generated 30 to 40 million dollars. They offer a meager
   percentage to the original copyright holder in a legal
   arrangement in Federal Court, effectively leaving the original
   author with a tiny portion of what should have been millions in
   gains.

   What is happening to authors whose compositions are plagiarized
   by urban and reggaeton music artists and multinational record
   labels is an assault, a pre-established and organized plan of
   theft and fraud with predetermined and divided economic
   interests. This practice is increasingly becoming a strategy to
   later argue that a derivative work is inspired by the original
   composition.

   What is currently happening in both state and federal courts is
   a battle for acquiring shares in external compositions and a
   pre-established and organized.




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   VI. PLAGIARISM OF THE COMPOSITION / SONG "ALGO DIFERENTE":

   I have been able to identify a high degree of similarity between
   key elements of both songs, including melody, harmonic
   structure, and rhythmic patterns. This unequivocally confirms
   the presence of plagiarism in terms of musical composition. [a]
   Technical Considerations of Similarities and Differences Between
   Both Songs. Every mind is unique, and similarly, the experience
   of listening to music is influenced by each individual's
   essence. When analyzing the process of listening to these two
   songs with the same musical idea, we can divide it, so to speak,
   into its constituent parts, which we could label as follows:

      1- Rhythmic Plane
      2- Harmonic Plane
      3- Melodic Plane

   Upon analyzing these musical fragments, we can unmistakably
   observe a great similarity between the two. It must be clearly
   stated that in the realm of the arts, "coincidences" are highly
   improbable.

   There are various ways in which a musical idea reaches a
   composer, including divine inspiration, the muse, lyrics
   inspired by emotions, and melodies inspired by feelings. When
   inspiration arrives, it is unique, personal, and irreplaceable
   in its form, content, and melody.

   From this, we assert that any similarity that arises in its
   entirety is simply plagiarism, a copy, theft, usurpation of the
   rights of the copyright holder, or a violation of copyright.

   1. [Rhythmic Plane]

   When we begin our investigation into the [Rhythmic Plane] using
   the first eight (8) measures, it becomes immediately evident
   that the [Rhythmic Pattern] in both themes, i.e., "Algo
   Diferente" and "Don't Be Shy," is unquestionably the same.

   The [Rhythmic Pattern] is so clear that we certify that no
   element leads us to even consider the possibility of any slight
   variation or difference between them.

   Take note that the placement of rhythmic figures within the
   musical staff and the duration of each figure's metric value are
   exactly the same in both the original and the copy. In this
   eight-measure musical staff, which constitutes a cyclic pattern,


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   there is a (1) whole note rest followed by five (5) figures in
   the following order:

   [Whole note rest, quarter note, quarter note, whole note, dotted
   quarter note, and eighth note], and these figures repeat several
   times.




   The harmony, compared to rhythm and melody, is the most artful
   of those three musical elements.

   2. [Harmonic Plane]

   When we analyze the [Harmonic Plane], the harmonic cycle or
   progression of these eight (8) measures, the progression of
   chords by perfect fourth intervals is very noticeable (quite
   common in music in general), situated every 2 measures, with a
   major third interval breaking that continuity at the end of the
   cycle. In this particular case, we observe the same harmonic
   cycle, including the major and minor modalities of its chords,
   in a different key or tonal center, used in both themes.




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   3. [Melodic Plane]

   In the [Melodic Plane], a theme or a musical idea, after all, is
   nothing more than a succession of notes called a melody, which
   will reveal its nature. By merely changing the execution
   dynamics, one can alter the emotion conveyed by the same
   succession of notes.

   A change in harmony can infuse new vigor into the theme, and
   with a different rhythmic treatment, the same notes can shift
   from one style to another. However, if the melody or sequence of
   notes remains in its original state without significant
   alterations and is used for another musical theme under a
   different title, then we are facing a copy or plagiarism of a
   previously composed work.

   Here we encounter two (2) distinct themes which, within their
   formal structure or song divisions (e.g., Verse-Chorus
   structure), share the same eight (8) measure melody, in this
   case, in the chorus of the song.




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   [What Can We Observe Differently Between Them?]

   In measure #2 of theme B: "DON'T BE SHY," the composer employs
   an ascending major third interval on the third beat, as opposed
   to the descending minor third interval on the third beat of
   theme A: "ALGO DIFERENTE." A slight directional alteration of
   the note succession can change the expressive color of the
   melody but not its essential nature.

   In measure #6 of theme B, in its last eighth note, a succession
   of six notes starts in the same descending direction as theme A,
   but here (theme B), the note sequence begins on the sixth degree
   of the chord in that measure #6 (A major), while in theme A,
   this note sequence begins on the tonic of the chord in measure
   #6 (C major).

   In this case, the melody undergoes an intervallic alteration of
   a minor third below, appearing more like a harmonization of the
   original melody rather than a variation of it. This is a
   primitive harmonization technique called "Organum," where the
   melody is harmonized or altered in parallel intervals based on a
   common interval for all the notes.




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   "Don't Be Shy" was transcribed onto the musical staff in the
   same original Key as the composition "Algo Diferente." In other
   words, the plagiarism done to "Algo Diferente" through "Don't Be
   Shy" was executed using the same Key.




   Note that "Algo Diferente" was plagiarized by "Don't Be Shy"
   using the same Key.



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   4. [ MELODIC SIMILARITY ]

   The similarity between melodies can be found in various musical
   elements, such as note sequences, rhythm, harmonic structure,
   and other aspects.

   Examining the two melodies; "Algo Diferente" and "Don't Be Shy,"
   we identify their similarity.




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   6.[ THE RHYTHM IS THE SAME ]

   The rhythm is the same. The same rhythmic figuration with the
   rests of a whole note is identical in both humming the melody
   and singing the lyrics. This signifies that in a musical
   composition, the same pattern of note and rest durations is
   being utilized in different sections or repetitions of the
   music. This creates a sense of cohesion and uniformity in terms
   of time and structure.

   In music, rhythm refers to the organization of time within a
   musical piece. It determines how sounds and silences are
   distributed across a timeline. Rhythmic figuration pertains to
   patterns of note and rest durations in a musical sequence.

   For instance, consider a musical sequence with a consistent
   rhythm where two notes are played consecutively followed by a
   rest in a repetitive melody:

   Note (duration) Note (duration) Rest (duration)

   If this sequence is repeated throughout the composition, the
   same rhythm and rhythmic figuration are maintained. The duration
   of the notes and the silence between them remains constant in
   all repetitions. This can create a hypnotic effect or a sense of
   familiarity in the music.

   It's important to note that while the rhythm and rhythmic
   figuration can remain constant, other musical elements such as
   melodies, harmonies, or textures can change, providing variety
   and interest to the piece despite the rhythmic repetition.

   In summary, when it's said that "The rhythm is the same. The
   same rhythmic figuration with the rests," it's describing a
   situation where the pattern of note and rest durations repeats
   throughout a musical composition, thus maintaining a consistent
   rhythmic coherence.

   The rhythm is the same in both "Algo Diferente" and "Don't Be
   Shy."




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   7. [ THE HARMONY IS THE SAME IN THE CORRESPONDING KEY ]

   In music, harmony refers to the combination of various sounds
   produced simultaneously to create a sense of stability, tension,
   consonance, or dissonance. These sounds are typically called
   chords. Harmony is fundamental to the structure and color of a
   musical piece and can influence how we perceive emotions and the
   overall coherence of the music.

   The "corresponding key" refers to the tonal key in which a
   musical composition is set. A tonal key establishes a main note
   (tonic) and defines a series of related chords and notes used in
   the music to establish a sense of tonality and melodic
   direction.

   When I certify that "The harmony is the same in the
   corresponding key," it means that the chords and harmonic
   progressions used in the composition are in consonance with the
   tonal key in which the piece is set. This provides a sense of
   cohesion and harmony in the music.

   For example, if a musical composition is in the key of C major,
   the chords used will be based on the notes of the C major scale,
   such as C, D, E, F, G, A, and B.

   If the same chord progression is maintained in different parts
   of the composition, the harmony remains constant in relation to
   the C major tonal key.

   Maintaining consistent harmony in the corresponding key helps
   create a sense of stability and unity in the music. Harmonic
   changes can add interest and emotion, but keeping certain chords
   constant can provide a feeling of continuity and familiarity.

   In summary, when it's said that "The harmony is the same in the
   corresponding key," it's describing a situation where the chords
   and harmonic progressions used in a musical composition are in
   consonance with the tonal key in which the piece is set,
   creating coherence and stability in the harmony.

   The harmony is the same in the corresponding key in both "Algo
   Diferente" and "Don't Be Shy."




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   8. [ STRUCTURAL FUNCTION ]

   The structural function of the disputed fragment is what is
   known as the Hook, or the "hook," of the strong part of the song
   "Algo Diferente." It has been plagiarized, copied, and also used
   as the strong part or hook in the song "Don’t be Shy," repeated
   11 times, both sung and hummed.

   When the artist Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota hums the work "Algo Diferente" in the plagiarized piece
   titled "Don’t Be Shy," she commits various similar intentions or
   expressions that impact the listening audience, making it easily
   memorable.




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   Humming a melody is very similar to "Whistling" the piece: [a]
   Whistling: When you hum a musical piece like "Algo Diferente,"
   the first thing the audience does is use their lips, exhaling to
   emit the melodious sound of "Algo Diferente" because it was
   hummed to them.

   Humming a melody is very similar to "Crooning" the piece: [b]
   Crooning: When you croon a musical piece like "Algo Diferente,"
   the listening audience gently receives a melody with the voice,
   which immediately leads the listener to "croon" with their voice
   the same gentle melody that was crooned to them, softly and
   affectionately.

   Humming a melody is very similar to "Murmuring" the piece: [c]
   Murmuring: When you murmur a musical piece like "Algo
   Diferente," the listening audience receives a melody with
   melodic sounds emitted in a low voice, and this immediately
   leads them to reproduce the song, as it was received calmly and
   to the delight of their soul.

   Mentally Playing a Song: When you hum a musical piece like "Algo
   Diferente," the listening audience receives a melody with
   melodic sounds emitted in a low voice, and this leads them to
   mentally, instantly, and automatically play the song, imagining
   and reliving the song in their mind. This causes them to engrave
   this melody in their subconscious and remember it each time,
   reliving it again and again in their mind. ("La-la-la-la-la").
   It is the same intention in both themes.

   Let's examine the lyrics of "Don’t Be Shy":

   DON’T BE SHY
   [Intro: KAROL G]
   [ PLAGIARISM - 1st illegal use of "Algo Diferente" hummed ]
   La-la-la-la-la
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta.

   [Verse: KAROL G]
   People say I'm not gonna change, not gonna change
   I know that you like that, you know where my mind's at
   Can't be tamed, I'm not gonna play, not gonna play
   Oh no, I ain't like that, fuck 'em, I'm a wild cat.




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   [Chorus: KAROL G]
   [ PLAGIARISM - 2nd illegal use of "Algo Diferente" sung ]
   Baby, break my heart
   Give me all you got
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy

   [ PLAGIARISM – 3er illegal use of "Algo Diferente" sung ]
   Is it love or lust?
   I can't get enough
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy

   [Post-Chorus: KAROL G]
   [ PLAGIARISM - 4th illegal use of "Algo Diferente" hummed ]
   La-la-la-la-la
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta.

   [ PLAGIARISM - 5th illegal use of "Algo Diferente" hummed ]
   Ta-ta-da-ra-ra
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta

   [Verse: KAROL G]
   People say I'm not gonna change, not gonna change
   I know that you like that, you know where my mind's at
   Can't be tamed, I'm not gonna play, not gonna play
   Oh no, I ain't like that, fuck 'em, I'm a wild cat

   [Chorus: KAROL G]
   [ PLAGIARISM – 6th illegal use of "Algo Diferente" sung ]
   Baby, break my heart
   Give me all you got
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy

   [ PLAGIARISM – 7th illegal use of "Algo Diferente" sung ]
   Is it love or lust?
   I can't get enough
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy




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   [Post-Chorus: KAROL G]
   [ PLAGIARISM – 8th illegal use of "Algo Diferente" hummed ]
   La-la-la-la-la
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta.

   [ PLAGIARISM – 9th illegal use of "Algo Diferente" hummed ]
   Ta-ta-da-ra-ra
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta

   [Bridge: KAROL G]
   Show yourself, beautiful
   Wanna gеt emotional, oh, mhm
   Follow me, easy now
   Wе could work a miracle, oh, hmm-yeah

   [Chorus: KAROL G]
   [ PLAGIARISM - 10 illegal use of "Algo Diferente" sung ]
   Baby, break my heart
   Give me all you got
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy

   [ PLAGIARISM - 11 illegal use of "Algo Diferente" sung ]
   Is it love or lust?
   I can't get enough
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy.


   Structural Function of the Fragment:
   In music, the "structural function" refers to the purpose or
   role that a specific section plays within a composition. In this
   case, I am certifying regarding a disputed fragment, signifying
   that there is a particular segment under discussion or being
   examined in detail.

   Hook or "Gancho": The term "hook" or "gancho" is employed in
   music to denote a portion of a song that is catchy, commercial,
   strong, memorable, and captures the listener's attention. It's a
   melody, lyrical line, or distinctive musical element that stands
   out and lingers in the listener's mind.




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   Strong Part of the Composition "Algo Diferente": Here, I am
   certifying about a prominent part of the musical composition
   titled "Algo Diferente." This specific segment contains a
   musical hook that is deemed particularly captivating and
   relevant within the context of the song.

   Used as a Strong Part or Hook in "Don't Be Shy": I am certifying
   that this same notable part from "Algo Diferente" is also
   utilized as a hook in the other plagiarized song titled "Don't
   Be Shy." This implies that violations against the copyright
   holder have been committed by reusing this fragment in this
   plagiarized composition titled "Don't Be Shy."

   Repeated Eleven (11) Times, Sung and Hummed ("lalalalala"): This
   fragment segment is repeated eleven (11) times in "Don't Be
   Shy." Additionally, it is performed both by singing and humming,
   characterized by the repetitive syllable "la-la-la-la-la," which
   is common in music when aiming to create a catchy melody.

   Same Intention in Both Themes: Finally, I am certifying that the
   intention behind using this fragment in both themes is the same.
   In other words, you are seeking to achieve the same musical and
   emotional effect in both compositions by utilizing this
   particular fragment as a memorable hook.

   In summary, I am describing how a specific musical fragment with
   a catchy hook is employed in two distinct songs, "Algo
   Diferente" and "Don't Be Shy," with the purpose of creating a
   similar sensation and captivating the listener's attention in
   both compositions.

   9. [ TRANSPOSITION ]

   If we transpose the key of the "Don't Be Shy" fragment to the
   key used in the "Algo Diferente" fragment, the chords and
   intervals will match with their rests.

   Key Change: In music, the key refers to the musical note upon
   which a composition is centered. Changing the key involves
   transposing the entire music to a specific interval while
   maintaining the relationships between the notes.

   "Don't Be Shy" Fragment: Here, I am certifying a musical
   fragment from the song "Don't Be Shy." You can consider this as
   a specific sequence of notes, chords, and intervals that make up
   a part of the song.




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   "Algo Diferente" Fragment: Similarly, I am certifying a musical
   fragment in the song "Algo Diferente." This refers to a specific
   section of notes, chords, and intervals in this other song.

   Transposition of Key: Transposing the key means changing all the
   notes and chords of a song by a specific interval while
   maintaining the relationships between the notes. This might be
   necessary to adjust the music to a performer's vocal range or to
   achieve a specific effect.

   Matching Chords, Intervals, and Rests: Here, I am certifying
   that by transposing the key of the "Don't Be Shy" fragment to
   the key used in the "Algo Diferente" fragment, the chords,
   intervals, and moments of rest in both compositions align. This
   means that the musical relationships between the notes and the
   spaces of silence are similar in both compositions, resulting in
   a coherent auditory experience.

   In summary, I am explaining how if you take a musical fragment
   from one song and transpose it to a different key that matches
   the one used in another fragment from another song, the musical
   elements like chords, intervals, and rests in both songs will
   align in a similar manner.

   10. [ INSTRUMENTAL FACTOR ]

   The instrumental factor is utilized as it is hummed by the
   singer Carolina Giraldo Navarro a/k/a Karol G a/k/a La Bichota.
   ("la-la-la-la-la")

   Instrumental Factor: In music, the "instrumental factor" refers
   to the musical elements that are played by instruments, as
   opposed to the human voice. This could include chords, melodies,
   rhythms, and other sonic aspects that do not involve singing.

   Singer's Humming ("lalalalala"): Here, I am certifying that the
   singer Carolina Giraldo Navarro a/k/a Karol G a/k/a La Bichota
   is humming a specific melody titled "Algo Diferente." Humming is
   when a person produces vocal sounds without words, usually to
   replicate a melody using syllables like "la," "la," "la," or
   other neutral syllables.

   Relationship between Instrumental Factor and Humming: Here, I am
   certifying that the "instrumental factor" in the composition is
   represented or performed by the singer Carolina Giraldo Navarro
   a/k/a Karol G a/k/a La Bichota through humming the melody
   "lalalalala." This means that the melody that would normally be


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   played by instruments is being reproduced by the voice of the
   singer Carolina Giraldo Navarro a/k/a Karol G a/k/a La Bichota
   through humming.

   In summary, I am certifying how in this musical composition,
   "Don't Be Shy," the part that would typically be played by
   instruments is being interpreted by the voice of the singer
   Carolina Giraldo Navarro a/k/a Karol G a/k/a La Bichota, who is
   humming the melody using non-verbal syllables.


   11. [ BINARY METER ]

   The Score of "Algo Diferente" is in binary meter.

   Binary Meter: Binary meter is a type of meter in which each
   musical measure is divided into two beats or strong pulses.
   These two beats are commonly designated as "1" and "2". In other
   words, the rhythm is felt in pairs of pulses.

   Time Signature Numerator: In musical notation, the meter is
   denoted by a fraction located at the beginning of each staff
   line. The numerator of this fraction indicates the number of
   beats in each measure. In the case of binary meter, the
   numerator would be "2".

   Time Signature Denominator: The denominator of the meter
   fraction indicates what type of note receives one beat. For
   example, in a 2/4 meter, the denominator "4" indicates that a
   quarter note (1/4 in duration) represents one beat. In the case
   of binary meter, the denominator "4" is common.

   Rhythmic Structure: Binary meter creates a sense of strong-weak-
   strong-weak rhythm in each musical measure. This results in a
   pattern of rhythmic accents that feels like a "double pulse."

   In summary, when I assert that the score of "Algo Diferente" is
   in binary meter, it means that the music in this composition is
   rhythmically organized in pairs of beats, creating a pattern of
   strong-weak-strong-weak rhythm in each musical measure. This
   choice of meter impacts the rhythmic structure and how the flow
   of the music is perceived.




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   VII. VIOLATIONS OF ECONOMIC RIGHTS

   In this case of plagiarism of the song titled "Algo Diferente"
   in the plagiarized work "Don’t Be Shy," protected under Title 17
   of the United States Federal Copyright Law, various exclusive
   rights granted to René Lorente, who is the original author of
   the song titled "Algo Diferente" and the copyright holder, are
   violated. These exclusive rights are as follows:

   Right of Reproduction (Section 106(1)): The copyright holder
   René Lorente has the absolute exclusive right to authorize or
   prohibit the reproduction of the work titled "Algo Diferente" in
   any form, whether physical or digital copies. Unauthorized
   copies of the plagiarized song would constitute a violation of
   this right. Violation of the Right of Reproduction: Music
   publishers, including Musical Freedom Publishing, Musical
   Freedom Publishing c/o Kobalt Songs Music Publishing, Karol G
   Music Production Publishing, Karol G Music Production Publishing
   c/o Songs of Kobalt Music Publishing, Strengholt Music
   Publishing BV c/o BMG Platinum Songs US, BMG Platinum Songs US.,
   SONY Music Publishing BV. c/o SONY/ATV Tunes LLC., SONY Music
   Publishing UK Limited c/o SONY/ATV Tunes LLC., have illegally
   granted various reproduction licenses, including mechanical,
   digital, video, performance, and synchronization licenses,
   without the authorization of the copyright holder René Lorente,
   who has the exclusive right to authorize or prohibit the
   reproduction of the work in any form, whether physical or
   digital, under Title 17 of the United States Copyright Law
   (Section 106(1)), to multinational record companies including
   Atlantic Records, Atlantic Recording Corporation, Musical
   Freedom Records, Musical Freedom, LLC. c/o Atlantic Recording
   Corporation.

   This action violates the Right of Reproduction of the copyright
   holder René Lorente, who has the exclusive right to authorize or
   prohibit the reproduction of the work in any form under Title 17
   of the United States Copyright Law (Section 106(1)).

   Right of Distribution (Section 106(3)): The copyright holder
   René Lorente has the absolute exclusive right to control the
   distribution of copies of the work titled "Algo Diferente" to
   the public. This includes the authorization or prohibition of
   selling, renting, lending, or in any way distributing copies of
   the plagiarized song without permission.


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   Unauthorized distribution of copies of the plagiarized song
   would constitute a violation of this right. Violation of the
   Right of Distribution: Music publishers, including Musical
   Freedom Publishing, Musical Freedom Publishing c/o Kobalt Songs
   Music Publishing, Karol G Music Production Publishing, Karol G
   Music Production Publishing c/o Songs of Kobalt Music
   Publishing, Strengholt Music Publishing BV c/o BMG Platinum
   Songs US, BMG Platinum Songs US., SONY Music Publishing BV. c/o
   SONY/ATV Tunes LLC., SONY Music Publishing UK Limited c/o
   SONY/ATV Tunes LLC., have illegally granted various reproduction
   and distribution licenses, including mechanical, digital, video,
   performance, and synchronization licenses, without the
   authorization of the copyright holder René Lorente, who has the
   exclusive right to authorize or prohibit the distribution of the
   work in any form, whether physical or digital, under Title 17 of
   the United States Copyright Law (Section 106(3)), to
   multinational record companies including Atlantic Records,
   Atlantic Recording Corporation, Musical Freedom Records, Musical
   Freedom, LLC. c/o Atlantic Recording Corporation.

   This action violates the Right of Distribution of the copyright
   holder, who has the exclusive right to authorize or prohibit the
   distribution of the work in any form under Title 17 of the
   United States Copyright Law (Section 106(3)).

   Right of Public Performance (Section 106(4)): The copyright
   holder René Lorente has the absolute exclusive right to
   authorize or prohibit the public performance of the work titled
   "Algo Diferente." This includes all live performances by the
   artists Tijs Michiel Verwest a/k/a Tiësto and Carolina Giraldo
   Navarro a/k/a Karol G a/k/a La Bichota G, as well as radio
   broadcasts, online streaming, and other forms of public
   transmission.

   Unauthorized public performances of the plagiarized song would
   constitute a violation of this right. Violation of the Right of
   Public Performance: The artists Tijs Michiel Verwest a/k/a
   Tiësto and Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota G have not sought permission from the copyright holder
   René Lorente, who has the absolute exclusive right to authorize
   or prohibit the public performance of the work under Title 17 of
   the United States Copyright Law (Section 106(4)), to perform the
   song.




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   This action violates the Right of Public Performance of the
   copyright holder, who has the exclusive right to authorize or
   prohibit the public performance of the work, whether live,
   recorded, or transmitted, by the artists Tijs Michiel Verwest
   a/k/a Tiësto and Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota G, under Title 17 of the United States Copyright Law
   (Section 106(4)).

   Right of Digital Public Performance (Section 106(6)): The
   copyright holder René Lorente has the absolute exclusive right
   to authorize or prohibit the digital public performance of the
   work titled "Algo Diferente." This includes all digital public
   performances carried out through digital media, such as online
   streaming or broadcasting on platforms by the artists Tijs
   Michiel Verwest a/k/a Tiësto and Carolina Giraldo Navarro a/k/a
   Karol G a/k/a La Bichota G.

   Unauthorized digital public performances of the plagiarized song
   would constitute a violation of this right. Violation of the
   Right of Digital Public Performance: The artists Tijs Michiel
   Verwest a/k/a Tiësto and Carolina Giraldo Navarro a/k/a Karol G
   a/k/a La Bichota G have not sought permission from the copyright
   holder René Lorente, who has the absolute exclusive right to
   authorize or prohibit the digital public performance of the work
   under Title 17 of the United States Copyright Law (Section
   106(6)), to digitally perform the song.

   This action violates the Right of Digital Public Performance of
   the copyright holder René Lorente, who has the exclusive right
   to authorize or prohibit the digital public performance of the
   work carried out through digital media, such as online streaming
   or broadcasting, under Title 17 of the United States Copyright
   Law (Section 106(6)).

   Right to Create Derivative Works (Section 106(2)): The copyright
   holder René Lorente has the absolute exclusive right to
   authorize or prohibit the creation of derivative works based on
   the original work titled "Algo Diferente." This includes
   adaptations, remixes, parodies, and other forms.

   Creating a derivative work based on the original work, such as
   an adaptation, version, remix, parody, or any other form,
   without the written authorization of the copyright holder would
   constitute a violation of these rights. Violation of the Right
   to Create Derivative Works: The composers Tijs Michiel Verwest
   a/k/a Tiësto, Carolina Giraldo Navarro a/k/a Karol G a/k/a La


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   Bichota, Yoshi L H Breen, Teemu William Brunila, Jonas David
   Kroper a/k/a Jonasu have not sought permission from the
   copyright holder René Lorente, who has the absolute exclusive
   right to authorize or prohibit the creation of derivative works
   based on the original work under Title

   Violation of the Right to Create Derivative Works: The
   composers; Tijs Michiel Verwest a/k/a Tiësto, Carolina Giraldo
   Navarro a/k/a Karol G a/k/a La Bichota, Yoshi L H Breen, Teemu
   William Brunilda, Jonas David Kroper a/k/a Jonasu, did not
   request permission from the copyright holder René Lorente, who
   has the absolute exclusive right to authorize or prohibit the
   creation of derivative works based on the work under Title 17 of
   the United States Copyright Law (Section 106(2)), to obtain a
   license and/or permission to create derivative works from the
   original work.

   This action violates the Right to Create Derivative Works of the
   copyright holder, who has the exclusive right to authorize or
   prohibit the creation of derivative works from the original work
   under Title 17 of the United States Copyright Law (Section
   106(2)).

   Right of Performance (Section 106(4)): The copyright holder René
   Lorente has the absolute exclusive right to authorize or
   prohibit the performance of the work titled "Algo Diferente."
   This encompasses all musical performances of the song, whether
   live, recorded, or transmitted by the artists; Tijs Michiel
   Verwest a/k/a Tiësto and Carolina Giraldo Navarro a/k/a Karol G
   a/k/a La Bichota G.

   Unauthorized performances of the plagiarized song would
   constitute a violation of this right. Violation of the Right of
   Performance: The artists; Tijs Michiel Verwest a/k/a Tiësto and
   Carolina Giraldo Navarro a/k/a Karol G a/k/a La Bichota G did
   not request permission from the copyright holder René Lorente,
   who has the absolute exclusive right to authorize or prohibit
   the performance of the song under Title 17 of the United States
   Copyright Law (Section 106(4)), to perform the song.

   This action violates the Right of Performance of the copyright
   holder, who has the exclusive right to authorize or prohibit the
   performance of the song, whether live, recorded, or transmitted
   by the artists; Tijs Michiel Verwest a/k/a Tiësto and Carolina
   Giraldo Navarro a/k/a Karol G a/k/a La Bichota G, under Title 17
   of the United States Copyright Law (Section 106(4)).




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   Right of Public Display (Section 106(5)): The copyright holder
   René Lorente has the absolute exclusive right to authorize or
   prohibit the public display of the work titled "Algo Diferente,"
   such as in the case of visual displays in public places.

   Unauthorized public displays of the plagiarized song would
   constitute a violation of this right. Violation of the Right of
   Public Display: Music publishers, including Musical Freedom
   Publishing, Musical Freedom Publishing c/o Kobalt Songs Music
   Publishing, Karol G Music Production Publishing, Karol G Music
   Production Publishing c/o Songs of Kobalt Music Publishing,
   Strengholt Music Publishing BV c/o BMG Platinum Songs US, BMG
   Platinum Songs US., SONY Music Publishing BV. c/o SONY/ATV Tunes
   LLC., SONY Music Publishing UK Limited c/o SONY/ATV Tunes LLC.,
   have illegally granted various licenses, including licenses for
   public display, without the authorization of the copyright
   holder René Lorente, who has the exclusive right to authorize or
   prohibit the public display of the work, such as in the case of
   visual displays in public places, under Title 17 of the United
   States Copyright Law (Section 106(5)), to multinational record
   companies including Atlantic Records, Atlantic Recording
   Corporation, Musical Freedom Records, Musical Freedom, LLC. c/o
   Atlantic Recording Corporation.

   This action violates the Right of Public Display of the
   copyright holder René Lorente, who has the exclusive right to
   authorize or prohibit the public display, such as in the case of
   visual displays in public places, of the song by the artists;
   Tijs Michiel Verwest a/k/a Tiësto and Carolina Giraldo Navarro
   a/k/a Karol G a/k/a La Bichota G, under Title 17 of the United
   States Copyright Law (Section 106(5)).




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   VIII. VIOLATIONS OF MORAL RIGHTS Moral Rights (Section 106A):

   Section 106A of the Copyright Law allows creators of visual arts
   works (such as the countless videos that were created using the
   work) to claim certain moral rights, such as the right to
   attribution and the integrity of the work.

   If someone violates the moral right of the Copyright holder,
   such as the right to attribution and the integrity of the work,
   they would be infringing and usurping this Right to the
   integrity of the work and the Moral Right. Violation of Moral
   Rights: Artists Tijs Michiel Verwest a/k/a Tiësto and Carolina
   Giraldo Navarro a/k/a Karol G a/k/a La Bichota G have violated
   the Moral Rights of the Copyright holder René Lorente by NOT
   acknowledging the authorship of the original composer; René
   Lorente, in addition to violating the integrity of the original
   work, protected under Title 17 of the United States Copyright
   Law (Section 106A).

   Composers Tijs Michiel Verwest a/k/a Tiësto, Carolina Giraldo
   Navarro a/k/a Karol G a/k/a La Bichota, Yoshi L H Breen, Teemu
   William Brunila, Jonas David Kroper a/k/a Jonasu, have violated
   the Moral Rights of the Copyright holder René Lorente by NOT
   acknowledging the authorship of the original composer; René
   Lorente, in addition to violating the integrity of the original
   work, protected under Title 17 of the United States Copyright
   Law (Section 106A).

   Music publishers Musical Freedom Publishing, Musical Freedom
   Publishing c/o Kobalt Songs Music Publishing, Karol G Music
   Production Publishing, Karol G Music Production Publishing c/o
   Songs of Kobalt Music Publishing, Strengholt Music Publishing BV
   c/o BMG Platinum Songs US, BMG Platinum Songs US, SONY Music
   Publishing BV c/o SONY/ATV Tunes LLC, SONY Music Publishing UK
   Limited c/o SONY/ATV Tunes LLC, have violated the Moral Rights
   of the Copyright holder René Lorente by NOT acknowledging the
   authorship of the original composer; René Lorente, in addition
   to violating the integrity of the original work, protected under
   Title 17 of the United States Copyright Law (Section 106A).

   Multinational record companies Atlantic Records, Atlantic
   Recording Corporation, Musical Freedom Records, Musical Freedom,
   LLC c/o Atlantic Recording Corporation have violated the Moral
   Rights of the Copyright holder René Lorente by NOT acknowledging
   the authorship of the original composer; René Lorente, in
   addition to violating the integrity of the original work,




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   protected under Title 17 of the United States Copyright Law
   (Section 106A).

   IX. DETERMINATIONS REGARDING FAULTS, VIOLATIONS, AND LACK OF
   AUTHORIZATIONS AND LICENSES

   It has been determined that the artists Tiësto & Karol G did NOT
   obtain authorization from the original author, René Lorente, for
   the use of his work, nor was a valid license requested to use
   the composition "Algo Diferente" in the song "Don't Be Shy."

   It has been determined that the artists Tiësto & Karol G did NOT
   obtain authorization from the original author, René Lorente, to
   include lyrics in the use of his work, nor was a valid license
   requested to use the composition "Algo Diferente" in the song
   "Don't Be Shy."

   It has been determined that the composers Tijs Michiel Verwest
   a/k/a Tiësto, Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota, Yoshi L H Breen, Teemu William Brunila, Jonas David
   Kroper a/k/a Jonasu DID NOT seek authorization from the original
   author, René Lorente, to include lyrics in the use of his work,
   nor was a valid license requested to use the composition "Algo
   Diferente" in the song "Don't Be Shy."

   It has been determined that the composers Tijs Michiel Verwest
   a/k/a Tiësto, Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota, Yoshi L H Breen, Teemu William Brunila, Jonas David
   Kroper a/k/a Jonasu DID NOT seek authorization from the original
   author, René Lorente, to include obscene lyrics in the use of
   his work, nor was a valid license requested to use the
   composition "Algo Diferente" in the song "Don't Be Shy."

   The first [Verse 1] of "Don't Be Shy" contains explicit, obscene
   lyrics that also distort the original work "Algo Diferente."

   X. RIGHT TO ATTRIBUTION

   The owner or creator of the work has the right to be recognized
   as the author of the work. This implies that their name must
   always appear whenever the work is presented or reproduced.

   It has been determined that the composers Tijs Michiel Verwest
   a/k/a Tiësto, Carolina Giraldo Navarro a/k/a Karol G a/k/a La
   Bichota, Yoshi L H Breen, Teemu William Brunila, Jonas David
   Kroper a/k/a Jonasu DID NOT provide proper attribution to the
   owner or creator of the work, omitting their name when using the


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   composition "Algo Diferente" in the plagiarized song "Don't Be
   Shy."

   XI. RIGHT TO INTEGRITY OF THE WORK

   The owner or creator of the work has the right to protect the
   integrity of their work and prevent any modification or
   distortion that could damage its reputation.

   [a] It has been determined that the composers Tijs Michiel
   Verwest a/k/a Tiësto, Carolina Giraldo Navarro a/k/a Karol G
   a/k/a La Bichota, Yoshi L H Breen, Teemu William Brunila, Jonas
   David Kroper a/k/a Jonasu plagiarized the work, distorted the
   work, and included explicit, distorted, obscene, and vulgar
   lyrics.

   The inclusion of vulgar content in the lyrics of "Don't Be Shy"
   without proper authorization has been determined, which affects
   and degrades the integrity and reputation of the original author
   René Lorente and his work "Algo Diferente."

   Let's examine here the [Verse 1: KAROL G], the content of the
   explicit, distorted, obscene, and vulgar lyrics.

   DON’T BE SHY

   [Intro: KAROL G]
   La-la-la-la-la
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta.

   [Verse 1: KAROL G] [ Explicit, Obscene, and Vulgar Lyrics ]
   People say I'm not gonna change, not gonna change
   I know that you like that, you know where my mind's at
   Can't be tamed, I'm not gonna play, not gonna play
   Oh no, I ain't like that, fuck 'em, I'm a wild cat.

   [Chorus: KAROL G]
   Baby, break my heart
   Give me all you got
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy
   Is it love or lust?
   I can't get enough
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy


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   [Post-Chorus: KAROL G]
   La-la-la-la-la
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta.

   Ta-ta-da-ra-ra
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta

   [Verse 1: KAROL G] [ Explicit, Obscene, and Vulgar Lyrics ]
   People say I'm not gonna change, not gonna change
   I know that you like that, you know where my mind's at
   Can't be tamed, I'm not gonna play, not gonna play
   Oh no, I ain't like that, fuck 'em, I'm a wild cat

   [Chorus: KAROL G]
   Baby, break my heart
   Give me all you got
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy
   Is it love or lust?
   I can't get enough
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy

   [Post-Chorus: KAROL G]
   La-la-la-la-la
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta.

   Ta-ta-da-ra-ra
   La-la-la-la-la
   La-la-la-la-la
   Da-ra-ta-ta-ta

   [Bridge: KAROL G]
   Show yourself, beautiful
   Wanna gеt emotional, oh, mhm
   Follow me, easy now
   Wе could work a miracle, oh, hmm-yeah




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   [Chorus: KAROL G]
   Baby, break my heart
   Give me all you got
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy
   Is it love or lust?
   I can't get enough
   Don't ask "Why, why, why?"
   Don't be shy, shy, shy.

   [c] It has been determined that the music publishers; Musical
   Freedom Publishing, Musical Freedom Publishing c/o Kobalt Songs
   Music Publishing, Karol G Music Production Publishing, Karol G
   Music Production Publishing c/o Songs of Kobalt Music
   Publishing, Strengholt Music Publishing BV c/o BMG Platinum
   Songs US, BMG Platinum Songs US, SONY Music Publishing BV c/o
   SONY/ATV Tunes LLC, SONY Music Publishing UK Limited c/o
   SONY/ATV Tunes LLC, DID NOT request authorization from the
   original author, René Lorente, for the use of his work, nor was
   a valid license requested to use the composition "Algo
   Diferente" in the song "Don't Be Shy."

   [d] It has been determined that the music publishers; Musical
   Freedom Publishing, Musical Freedom Publishing c/o Kobalt Songs
   Music Publishing, Karol G Music Production Publishing, Karol G
   Music Production Publishing c/o Songs of Kobalt Music
   Publishing, Strengholt Music Publishing BV c/o BMG Platinum
   Songs US, BMG Platinum Songs US, SONY Music Publishing BV c/o
   SONY/ATV Tunes LLC, SONY Music Publishing UK Limited c/o
   SONY/ATV Tunes LLC, DID NOT request authorization from the
   original author, René Lorente, to include lyrics in the use of
   his work, nor was a valid license requested to use the
   composition "Algo Diferente" in the song "Don't Be Shy."

   [e] It has been determined that the music publishers; Musical
   Freedom Publishing, Musical Freedom Publishing c/o Kobalt Songs
   Music Publishing, Karol G Music Production Publishing, Karol G
   Music Production Publishing c/o Songs of Kobalt Music
   Publishing, Strengholt Music Publishing BV c/o BMG Platinum
   Songs US, BMG Platinum Songs US, SONY Music Publishing BV c/o
   SONY/ATV Tunes LLC, SONY Music Publishing UK Limited c/o
   SONY/ATV Tunes LLC, DID NOT request authorization from the
   original author, René Lorente, to include obscene lyrics in the
   use of his work, nor was a valid license requested to use the
   composition "Algo Diferente" in the song "Don't Be Shy."



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   [f] It has been determined that the multinational record
   companies; Atlantic Records, Atlantic Recording Corporation,
   Musical Freedom Records, Musical Freedom, LLC. c/o Atlantic
   Recording Corporation DID NOT request authorization from the
   original author, René Lorente, to publish his work, nor was a
   valid mechanical, video mechanical, and digital license
   requested to use the composition "Algo Diferente" in the song
   "Don't Be Shy."




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   XII. PUBLICATIONS AND EARNINGS OBTAINED

   [a] SINGLE: DON’T BE SHY [ TIËSTO / KAROL G ]




   The single of the song "Don't Be Shy" was published and made
   available for sale on August 12, 2021, on all digital platforms
   worldwide.

   The artist Tiesto's production titled "Drive" was released in
   various physical and digital formats, containing the complete
   production, including the plagiarized track titled "Don't Be
   Shy."

   CERTIFICATION OF
   Recording Industry Association of America (RIAA)

   The Recording Industry Association of America (RIAA) is a trade
   organization that represents the music recording industry in the
   United States. Its members consist of record labels and
   distributors that the RIAA says "create, manufacture, and/or
   distribute approximately 85% of all legally sold recorded music
   in the United States". RIAA is headquartered in Washington, D.C.

   RIAA was formed in 1952. Its original mission was to administer
   recording copyright fees and problems, work with trade unions,


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   and do research relating to the record industry and government
   regulations. Early RIAA standards included the RIAA equalization
   curve,the format of the stereophonic record groove and the
   dimensions of 33 1/3, 45, and 78 rpm records.

   RIAA SALES certification

   The RIAA operates an award program for albums that sell a large
   number of copies.The award was launched in 1958; originally, the
   requirement for a Gold single was one million units sold and a
   Gold album represented $1 million in sales (at wholesale value,
   around a third of the list price). In 1975, the additional
   requirement of 500,000 units sold was added for Gold albums.
   Reflecting growth in record sales, the Platinum award was added
   in 1976, for albums able to sell one million units, while
   singles qualify upon selling two million units. The Multi-
   Platinum award was introduced in 1984, signifying multiple
   Platinum levels of albums and singles. In 1989, the sales
   thresholds for singles were reduced to 500,000 for Gold and
   1,000,000 for Platinum, reflecting a decrease in sales of
   singles. In 1992, RIAA began counting each disc in a multi-disc
   set as one unit toward certification. Reflecting additional
   growth in music sales, the Diamond award was instituted in 1999
   for albums or singles selling ten million units.Because of these
   changes in criteria, the sales level associated with a
   particular award depends on when the award was made.

   Since 2000, the RIAA also operates a similar program for Latin
   music sales, called Los Premios de Oro y De Platino. Currently,
   a "Disco De Oro" (Gold) is awarded for 30,000 units, and a
   "Disco De Platino" is awarded for 60,000 units. Further, the
   "Album Multi-Platino" honor is awarded at 120,000, and
   "Diamante" requires 10 times as many units as "Platino"
   (600,000). The RIAA defines "Latin music" as a type of release
   with 51% or more of its content recorded in Spanish.

   On August 3, 2023, The Recording Industry Association of America
   (RIAA) certified 0.5 million digital sales of the single titled
   "Don't Be Shy," which was released on August 12, 2021.

   Here is the certification from The Recording Industry
   Association of America (RIAA).

   Yoshi Breen
   Facebook Page      Co-Writer “Don’t Be Shy”
   https://www.facebook.com/photo/?fbid=10229107816865975&set=a.486
   8338272232


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   See Link RIIA
   https://www.riaa.com/gold-platinum/?tab_active=default-
   award&se=tiesto+#search_section




   500,000 units certified as sold by RIAA of the single "Don't Be
   Shy" [Tiesto / Karol G] at a rate of 0.12 cents as per the
   statutory rate of the Copyright Act.

   Publishing:
   500,000.00 X 0.12 cents = $60,000.00 dollars

   Master ($7.99):
   500,000.00 X 1.00 cent = $500,000.00 dollars

   https://store.warnermusic.com/en/warner-music-store/atlantic-
   records/tiesto/

   TIESTODRIVE Digital Download
   $7.99




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   [b] LP Long Playing

   Album           :      TIESTO
   Titlle          :      “DRIVE”
   UPC             :      0 75679 73320 7




   TiestoDRIVE Vinyl
   $24.98




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   SEE : https://bestsellingalbums.org/artist/13366



   TIESTO album sales
   TIESTO sold over 1,748,000 albums, including 500,000 in the United States and 240,000 in the
   United Kingdom. The best-selling album by TIESTO is DRIVE, which sold over 580,000 copies .


   Contents:
   1. TIESTO albums ranked by sales
   2. TIESTO total sales by country
   3. TIESTO detailed sales by country
   TIESTO albums ranked by sales
                                                 1




   DRIVE (2023)
   TIESTO
   Sales: 580,000
   Rank in 2023 : 2
   Rank in 2020's : 183
   Overall rank : 8697




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   SEE : https://store.warnermusic.com/en/warner-music-
   store/atlantic-records/tiesto/drive-vinyl/075679733207.html




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        ARTISTS
           •
        MUSIC
           •
        APPAREL
           •
        ACCESSORIES & HOME
           •
        GENRE
           •
        PRINT ON DEMAND
           •
        HIP-HOP AT FIFTY
           •
        FESTIVAL SEASON
           •
   Home / Warner Music Store / Atlantic Records / TIESTO / DRIVE Vinyl




       •

   Tiesto


   DRIVE Vinyl
   $24.98
   5 out of 5 Customer Rating
   Availability:
        • In Stock

   Qty:
   ADD TO CART


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      •   Product Details
   Tiesto’s album DRIVE pressed on a single pocket black LP.


   Limited quantities worldwide.


   TRACKLIST:


   01. All Nighter
   02. The Motto with Ava Max
   03. 10:35 with Tate McRae
   04. The Business
   05. Chills (LA Hills) with A Boogie Wit Da Hoodie
   06. Hot in It with Charli XCX
   07. Pump It Louder with Black Eyed Peas
   08. Learn 2 Love
   09. Don’t Be Shy with Karol G
   10. Bet My Dollar with Freya Ridings
   11. Back Around with AR/CO
   12. Lay Low




   https://store.warnermusic.com/en/warner-music-store/atlantic-
   records/tiesto/drive-vinyl/075679733207.html




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   [c] CD Compact Disc

   Album          :       TIESTO
   Titlle         :       “DRIVE”
   UPC            :       0 75678 62652 4




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   On August 3, 2023, The Recording Industry Association of America
   (RIAA) certified 0.5 million digital sales of the single titled
   "Don't Be Shy," which was released on August 12, 2021.

   Here is the certification from The Recording Industry
   Association of America (RIAA).

   CERTIFICATION OF
   Recording Industry Association of America (RIAA)


   The Recording Industry Association of America (RIAA) is a trade
   organization that represents the music recording industry in the
   United States. Its members consist of record labels and
   distributors that the RIAA says "create, manufacture, and/or
   distribute approximately 85% of all legally sold recorded music
   in the United States". RIAA is headquartered in Washington, D.C.

   RIAA was formed in 1952. Its original mission was to administer
   recording copyright fees and problems, work with trade unions,
   and do research relating to the record industry and government
   regulations. Early RIAA standards included the RIAA equalization
   curve,the format of the stereophonic record groove and the
   dimensions of 33 1/3, 45, and 78 rpm records.

   RIAA SALES certification

   The RIAA operates an award program for albums that sell a large
   number of copies.The award was launched in 1958; originally, the
   requirement for a Gold single was one million units sold and a
   Gold album represented $1 million in sales (at wholesale value,
   around a third of the list price). In 1975, the additional
   requirement of 500,000 units sold was added for Gold albums.
   Reflecting growth in record sales, the Platinum award was added
   in 1976, for albums able to sell one million units, while
   singles qualify upon selling two million units. The Multi-
   Platinum award was introduced in 1984, signifying multiple
   Platinum levels of albums and singles. In 1989, the sales
   thresholds for singles were reduced to 500,000 for Gold and
   1,000,000 for Platinum, reflecting a decrease in sales of
   singles. In 1992, RIAA began counting each disc in a multi-disc
   set as one unit toward certification. Reflecting additional
   growth in music sales, the Diamond award was instituted in 1999
   for albums or singles selling ten million units.Because of these


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   changes in criteria, the sales level associated with a
   particular award depends on when the award was made.

   Since 2000, the RIAA also operates a similar program for Latin
   music sales, called Los Premios de Oro y De Platino. Currently,
   a "Disco De Oro" (Gold) is awarded for 30,000 units, and a
   "Disco De Platino" is awarded for 60,000 units. Further, the
   "Album Multi-Platino" honor is awarded at 120,000, and
   "Diamante" requires 10 times as many units as "Platino"
   (600,000). The RIAA defines "Latin music" as a type of release
   with 51% or more of its content recorded in Spanish.

   On June 1, 2023, The Recording Industry Association of America
   (RIAA) certified 0.5 million standard sales of the LP and CD of
   the artist Tiesto's album titled "Drive," containing the song
   titled: "Don't Be Shy," which was released on April 21, 2023.

   Here is the certification from The Recording Industry
   Association of America (RIAA).
   See Link RIIA
   https://www.riaa.com/gold-platinum/?tab_active=default-
   award&se=tiesto+#search_section




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   500,000 units certified as sold by RIAA of the artist TIESTO's
   production titled "DRIVE," containing the song "Don't Be Shy"
   [Tiesto / Karol G], at a rate of 0.12 cents as per the statutory
   rate of the Copyright Act. Currently, it has reached 580,000
   units sold.

   Publishing:
   580,000.00 X 0.12 cents = $69,600.00 dollars

   Master ($24.99):
   500,000.00 X 1.00 cent = $580,000.00 dollars




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   [d] TIESTO “DRIVE” ( TIESTO WEB PAGE )
   https://tiesto.lnk.to/DRIVEID




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   [e] TIESTO “DRIVE” ( TIESTO WEB PAGE )

       Tiësto albums - compilations. Tiësto's new album, Drive,
          available now ! digital or vinyl: tracks, price, link !
   Publié le 21 avril 2023 , mis à jour le 25 mai 2023Par - Tiëstolive




                          Tiësto's new album is called Drive,
                        it will be available on April 21, 2023
                           tracks, price, link pre-sale now !

                             album with 12 songs



            Tiësto - DRIVE The Album -) Continuous DJ Mix


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   01 Tiësto - All Nighter -) listen here
   02 Tiësto x Ava Max - The Motto -) listen here
   03 Tiësto x Tate McRae - 10:35 -) listen here
   04 Tiësto - The Business -) listen here
   05 Tiësto x A Boogie Wit Da Hoodie - Chills (LA Hills) -) listen here
   06 Tiësto x Charli XCX - Hot in It -) listen here
   07 Tiësto x Black Eyed Peas - Pump It Louder -) listen here
   08 Tiësto - Learn 2 Love -) listen here
   09 Tiësto x Karol G - Don’t Be Shy -) listen here
   10 Tiësto x Freya Ridings - Bet My Dollar -) listen here
   11 Tiësto x AR/CO - Back Around -) listen here
   12 Tiësto - Lay Low -) listen here

   13 Tiësto - Yesterday | Bonus track listen here




                                album digitale $7.99
                                 album vinyl $24.98


                            https://tiesto.lnk.to/DRIVEID




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   [f] TIESTO “DRIVE” ( DIGITAL )




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   [g] TIESTO “DRIVE” CONTINUOUS DJ MIX( TIESTO WEB PAGE )

     Tiësto articles. Tiësto - DRIVE The Album | Continuous DJ Mix
   Publié le 20 avril 2023 , mis à jour le 23 avril 2023Par - Tiëstolive




                                        Tiësto
                                  DRIVE The Album
                                  Continuous DJ Mix




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   tracklist mix Spécial Drive

   01 Tiësto ft. James Bell - The Business
   02 Tiësto ft. Tate McRae - 10:35
   03 Tiësto - Learn 2 Love
   04 Tiësto & AR/CO - Back Around
   05 Tiësto & Charli XCX - Hot In It
   06 Tiësto & Ava Max - The Motto
   07 Tiësto ft. Freya Ridings - Bet My Dollar
   08 Tiësto & A Boogie Wit Da Hoodie - Chills (LA Hills)
   09 Tiësto & Black Eyed Peas - Pump It Louder
   10 Tiësto - All Nighter
   11 Tiësto & Karol G - Don't Be Shy
   12 Tiësto - Lay Low




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   [h] SPOTIFY 500,000,000.00 Million

   Spotify makes payments for streaming of tracks at a rate of 0.04
   cents for every 10 streams.

   Estimated minimum earnings:

   500,000,000 Million Streams
   at a rate of $0.04 for every 10 = $2,000,000.00 Million




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   [i] [ VIDEO 1 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video)




   Tiësto & Karol G - Don't Be Shy (Official Music Video)
   https://www.youtube.com/watch?v=taSubkjZUA4

   [ VIDEO 1 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video)
   $ 1,178,927.472

   The official video of "DON’T BE SHY" (Official Music Video) was
   premiered on the YouTube channel on August 12, 2021.

   At the conclusion of this Expert Report, the video had
   392,975,824 (Three hundred ninety-two million, nine hundred
   seventy-five thousand, eight hundred twenty-four) views.

   Tiësto & Karol G - Don't Be Shy (Official Music Video)
   392,975,824 views

   Premiered on Aug 12, 2021 #Tiesto #DontBeShy #KarolG Tiësto &
   Karol G - Don't Be Shy Stream/DL:
   https://tiesto.lnk.to/DontBeShyID DRIVE out now:
   https://tiesto.lnk.to/DRIVEID

   Link: https://www.youtube.com/watch?v=taSubkjZUA4

   Earnings generated by the video; Tiësto & Karol G - Don't Be Shy
   (Official Music Video) On YouTube Channel (Google)




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   Google makes payments generated by the ads shown whenever
   someone clicks to watch the "Don't Be Shy" video. The income
   from YouTube depends on multiple factors, such as the
   geographical location of the audience, interaction with the ads,
   the type of ads displayed, and CPM rates (Cost Per Mille, or
   cost per thousand impressions).

   An approximate responsible estimate of how YouTube Channel
   (Google) advertising revenue works.

   The YouTube Partner Program usually earns around $1.00 to $3.00
   dollars for every 1,000 views of the "Don't Be Shy" video.

   Taking a range of $1.00 to $3.00 dollars per 1,000 views of the
   "Don't Be Shy" video, we can calculate an approximate estimate
   of the earnings generated by this music video with 392,975,824
   views. The multiplication is based on $3.00 due to the
   prominence that YouTube has for paying mega-artists like Tiësto
   & Karol G, and it was calculated on Tuesday, August 22, 2023, as
   follows:

   Estimated minimum earnings: 392,975,824 views 1,000 views at
   $1.00 = $392,975.824

   Estimated maximum earnings: 392,975,824 views 1,000 views at
   $3.00 = $1,178,927.472




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   [j] [ VIDEO 2 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)




   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)
   https://www.youtube.com/watch?v=oDF1j-y6J-k

   [ VIDEO 2 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)
   $ 87,666.186

   They edited a second part of the "Don't Be Shy" video. The
   official video of "DON’T BE SHY" (Official Music Video Part II)
   was premiered on the YouTube channel on September 3, 2021.

   At the conclusion of this Expert Report, the video had
   29,222,062 (Twenty-nine million, two hundred twenty-two
   thousand, sixty-two) views.

   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)
   29,222,062 views Premiered on Sept 3, 2021 #Tiesto #DontBeShy
   #KarolG Tiësto & Karol G - Don't Be Shy Stream/DL:
   https://tiesto.lnk.to/DontBeShyID

   Earnings generated by the video; Tiësto & Karol G - Don't Be Shy
   (Official Music Video Part II) On YouTube Channel (Google)




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   Google makes payments generated by the ads shown whenever
   someone clicks to watch the "Don't Be Shy" video. The income
   from YouTube depends on multiple factors, such as the
   geographical location of the audience, interaction with the ads,
   the type of ads displayed, and CPM rates (Cost Per Mille, or
   cost per thousand impressions).

   An approximate responsible estimate of how YouTube Channel
   (Google) advertising revenue works.

   The YouTube Partner Program usually earns around $1.00 to $3.00
   dollars for every 1,000 views of the "Don't Be Shy" video.

   Taking a range of $1.00 to $3.00 dollars per 1,000 views of the
   "Tiësto & Karol G - Don't Be Shy (Official Music Video Part
   II)," we can calculate an approximate estimate of the earnings
   generated by this music video with 29,222,062 views. The
   multiplication is based on $3.00 due to the prominence that
   YouTube has for paying mega-artists like Tiësto & Karol G, and
   it was calculated on Tuesday, August 22, 2023, as follows:

   Estimated minimum earnings:
   29,222,062 views 1,000 views at $1.00 = $29,222.062

   Estimated maximum earnings:
   29,222,062 views 1,000 views at $3.00 = $87,666.186




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   [k] [ VIDEO 3 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)




   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   https://www.youtube.com/watch?v=x6G3nEKOkXw

   [ VIDEO 3 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   $ 26,385.15

   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   8,795,053 vistas
   Se estrenó el 29 sept 2021
   #Tiesto #DontBeShy #KarolG
   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   “Don’t Be She” Out Now: https://tiesto.lnk.to/DontBeShyID

   They edited a Behind The Scenes video of the "Don't Be Shy"
   video. The official video of "DON’T BE SHY" (Official Behind The
   Scenes) was premiered on the YouTube channel on September 29,
   2021.

   At the conclusion of this Expert Report, the video had 8,795,053
   (Eight million, seven hundred ninety-five thousand, fifty-three)
   views.

   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   8,795,053 views Premiered on Sept 29, 2021 #Tiesto #DontBeShy
   #KarolG Tiësto & Karol G - Don't Be Shy Stream/DL:
   https://tiesto.lnk.to/DontBeShyID

   Earnings generated by the video; Tiësto & Karol G - Don't Be Shy
   (Official Behind The Scenes) On YouTube Channel (Google)




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   Google makes payments generated by the ads shown whenever
   someone clicks to watch the "Don't Be Shy" video. The income
   from YouTube depends on multiple factors, such as the
   geographical location of the audience, interaction with the ads,
   the type of ads displayed, and CPM rates (Cost Per Mille, or
   cost per thousand impressions).

   An approximate responsible estimate of how YouTube Channel
   (Google) advertising revenue works.

   The YouTube Partner Program usually earns around $1.00 to $3.00
   dollars for every 1,000 views of the "Don't Be Shy" video.

   Taking a range of $1.00 to $3.00 dollars per 1,000 views of the
   "Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes),"
   we can calculate an approximate estimate of the earnings
   generated by this music video with 8,795,053 views. The
   multiplication is based on $3.00 due to the prominence that
   YouTube has for paying mega-artists like Tiësto & Karol G, and
   it was calculated on Tuesday, August 22, 2023, as follows:

   Estimated minimum earnings:
   8,795,053 views
   1,000 views at $1.00 = $8,795.53

   Estimated maximum earnings:
   8,795,053 views
   1,000 views at $3.00 = $26,385.15




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   [l] MARKET IMPACT

   [i] AWARDS

   In the plagiarism of the song "Algo Diferente" as "Don't Be
   Shy," not only has plagiarism and violations of the copyright
   holder occurred, but also a fraud has been committed in the
   granting and receipt of the ASCAP award to the alleged co-
   composer; Teemu William Brunila, who received the award at the
   ASCAP LONDON MUSIC AWARD 2022 held in the year 2022 in London in
   the ASCAP category as follows:




   DON'T BE SHY | Written by Teemu Brunila
   Winning Hot Dance/Electronic Song




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   See Link ASCAP Web Page :
   ASCAP LONDON MUSIC AWARD 2022
   https://www.ascap.com/news-events/awards/2022/london-awards

   Listen to the acceptance speech of Teemu William Brunila at
   ASCAP London.https://www.youtube.com/shorts/tcFwzPS6vXk




   Teemu William Brunilda ( co-writer “Don’t Be Shy” [ Tiesto /
   Karol G ]




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   [ii] AWARDS


     Tiësto and Karol are nominated for the IHEARTRADIO MUSIC
                            AWARDS 2023
   Publié le 12 janvier 2023 , mis à jour le 12 janvier 2023Par - Tiëstolive




                        Tiësto and Karol
                     are nominated for the
               IHEARTRADIO MUSIC AWARDS 2023


   in categories

   - Dance Artist of the Year

   - Best Music Video: *Socially Voted Category (Don’t Be Shy”-
   Tiësto & Karol G)




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   [iii] AWARDS




                                      VOTE NOW
   https://glassefactory.com/dont-be-shy-to-obsessed-over-tiesto-
   karol-gs-coachella-performance-we-do-too/


                            FESTIVALSHEADLINERNEWSTOP STORIES

         “DON’T BE SHY” TO OBSESSED OVER
          TIËSTO & KAROL G’S COACHELLA
            PERFORMANCE, WE DO TOO

   Nicole Kirschner
                                         April 1, 2022
                                         2 Mins Read
                                           69 Views

                                          1 Comment


   “DON’T BE SHY” TO OBSESSED OVER TIËSTO & KAROL G’S
   COACHELLA PERFORMANCE, WE DO TOO

   It’s the first weekend of Coachella 2022 and Tiësto is making a phenomenal
   comeback. The Dutch DJ and house music legend has teamed up with Colombian
   sensation Karol G to perform their history-making hit “Don’t Be Shy” and “The
   Business”.

   Headliner Karol G just performed “BICHOTA”, when suddenly the stage opens up and
   a huge Aztec-inspired DJ station rises out of the stage revealing Tiësto’s name in
   blinding lights. The beat of “Don’t Be Shy” starts booming over the stage as Karol hits
   the first notes and the crowd goes wild!

   This upbeat and simple dance tune wrote history in 2021: It’s the first English song
   ever for Karol G, and the first Latin Artist collaboration for Tiësto. A match made in
   the electro-dance house heavens blessed us with the soundtrack to many memories
   of hot summer parties.




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   When the last la la la from “Don’t Be Shy” died down Karol G exits the stage and the
   dancers rearrange, leaving the DJ in the spotlight. All eyes are on Tiësto as he hypes
   up the crowd and “The Business” fills the air with ecstatic tension. It continues to
   build, the crowd almost static with anticipation when the beat drop hits, and
   everyone goes crazy.

   After the Coachella performance, it’s easy to see how “The Business” has managed to
   dominate the charts worldwide since its September 2020 release. It was even
   nominated for Best Dance/Electronic Recording at the 64th Annual GRAMMY
   Awards.

   This performance marked Tiësto’s return to the Coachella main stage, after being the
   first-ever DJ to close out the stage in 2009 and again the following year. It’s the
   perfect opportunity to stir some noise for the release of the third single from his
   upcoming album, “The Motto” with Ava Max, which is out now. Pop some champagne
   bottles to that!




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   XIII. DAMAGES ESTIMATE, AUTHOR ROYALTIES, ETC.

   In this case of plagiarism of the song "Algo Diferente" under
   Title 17 of the United States Copyright Act, the estimated
   economic damages are as follows:

   Actual Damages:
   The actual economic losses suffered by the copyright holder,
   René Lorente, due to the plagiarism. Loss of Income: The loss of
   income suffered by the copyright holder affected by the
   infringement is estimated at;
   $2,000,000.00

   Unreceived Author Royalties:
   The unreceived author royalties for the composition not received
   by the copyright holder affected by this violation are estimated
   at;
   $2,000,000.00

   Unreceived Artistic Master Royalties:
   The unreceived artistic master royalties for the song performed
   by artists Tijs Michiel Verwest a/k/a Tiësto, Carolina Giraldo
   Navarro a/k/a Karol G a/k/a La Bichota, not received by the
   copyright holder affected by this violation are estimated at;
   $4,000,000.00

   Unreceived Author Royalties for Re-Mixes:
   The unreceived author royalties for the composition not received
   by the copyright holder affected by this violation are estimated
   at;
   $2,000,000.00

   Unreceived Artistic Master Royalties for Re-Mixes:
   The unreceived artistic master royalties for the song performed
   by artists Tijs Michiel Verwest a/k/a Tiësto, Carolina Giraldo
   Navarro a/k/a Karol G a/k/a La Bichota, not received by the
   copyright holder affected by this violation are estimated at;
   $4,000,000.00




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   [ VIDEO 1 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video)




   Tiësto & Karol G - Don't Be Shy (Official Music Video)
   https://www.youtube.com/watch?v=taSubkjZUA4

   [ VIDEO 1 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video)
   $ 1,178,927.472

   The official video of "DON’T BE SHY" (Official Music Video) was
   premiered on the YouTube channel on August 12, 2021.

   At the conclusion of this Expert Report, the video had
   392,975,824 (Three hundred ninety-two million, nine hundred
   seventy-five thousand, eight hundred twenty-four) views.

   Tiësto & Karol G - Don't Be Shy (Official Music Video)
   392,975,824 views

   Premiered on Aug 12, 2021 #Tiesto #DontBeShy #KarolG Tiësto &
   Karol G - Don't Be Shy Stream/DL:
   https://tiesto.lnk.to/DontBeShyID DRIVE out now:
   https://tiesto.lnk.to/DRIVEID

   Link: https://www.youtube.com/watch?v=taSubkjZUA4

   Earnings generated by the video; Tiësto & Karol G - Don't Be Shy
   (Official Music Video) On YouTube Channel (Google)




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   Google makes payments generated by the ads shown whenever
   someone clicks to watch the "Don't Be Shy" video. The income
   from YouTube depends on multiple factors, such as the
   geographical location of the audience, interaction with the ads,
   the type of ads displayed, and CPM rates (Cost Per Mille, or
   cost per thousand impressions).

   An approximate responsible estimate of how YouTube Channel
   (Google) advertising revenue works.

   The YouTube Partner Program usually earns around $1.00 to $3.00
   dollars for every 1,000 views of the "Don't Be Shy" video.

   Taking a range of $1.00 to $3.00 dollars per 1,000 views of the
   "Don't Be Shy" video, we can calculate an approximate estimate
   of the earnings generated by this music video with 392,975,824
   views. The multiplication is based on $3.00 due to the
   prominence that YouTube has for paying mega-artists like Tiësto
   & Karol G, and it was calculated on Tuesday, August 22, 2023, as
   follows:

   Estimated minimum earnings: 392,975,824 views 1,000 views at
   $1.00 = $392,975.824

   Estimated maximum earnings: 392,975,824 views 1,000 views at
   $3.00 = $1,178,927.472




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   [ VIDEO 2 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)




   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)
   https://www.youtube.com/watch?v=oDF1j-y6J-k

   [ VIDEO 2 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)
   $ 87,666.186

   They edited a second part of the "Don't Be Shy" video. The
   official video of "DON’T BE SHY" (Official Music Video Part II)
   was premiered on the YouTube channel on September 3, 2021.

   At the conclusion of this Expert Report, the video had
   29,222,062 (Twenty-nine million, two hundred twenty-two
   thousand, sixty-two) views.

   Tiësto & Karol G - Don't Be Shy (Official Music Video Part II)
   29,222,062 views Premiered on Sept 3, 2021 #Tiesto #DontBeShy
   #KarolG Tiësto & Karol G - Don't Be Shy Stream/DL:
   https://tiesto.lnk.to/DontBeShyID

   Earnings generated by the video; Tiësto & Karol G - Don't Be Shy
   (Official Music Video Part II) On YouTube Channel (Google)




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   "Tiësto & Karol G - Don't Be Shy (Official Music Video Part
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   generated by this music video with 29,222,062 views. The
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   29,222,062 views 1,000 views at $3.00 = $87,666.186




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   [ VIDEO 3 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)




   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   https://www.youtube.com/watch?v=x6G3nEKOkXw

   [ VIDEO 3 ]
   YouTube Channel
   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   $ 26,385.15

   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   8,795,053 vistas
   Se estrenó el 29 sept 2021
   #Tiesto #DontBeShy #KarolG
   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   “Don’t Be She” Out Now: https://tiesto.lnk.to/DontBeShyID

   They edited a Behind The Scenes video of the "Don't Be Shy"
   video. The official video of "DON’T BE SHY" (Official Behind The
   Scenes) was premiered on the YouTube channel on September 29,
   2021.

   At the conclusion of this Expert Report, the video had 8,795,053
   (Eight million, seven hundred ninety-five thousand, fifty-three)
   views.

   Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes)
   8,795,053 views Premiered on Sept 29, 2021 #Tiesto #DontBeShy
   #KarolG Tiësto & Karol G - Don't Be Shy Stream/DL:
   https://tiesto.lnk.to/DontBeShyID

   Earnings generated by the video; Tiësto & Karol G - Don't Be Shy
   (Official Behind The Scenes) On YouTube Channel (Google)




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   Google makes payments generated by the ads shown whenever
   someone clicks to watch the "Don't Be Shy" video. The income
   from YouTube depends on multiple factors, such as the
   geographical location of the audience, interaction with the ads,
   the type of ads displayed, and CPM rates (Cost Per Mille, or
   cost per thousand impressions).

   An approximate responsible estimate of how YouTube Channel
   (Google) advertising revenue works.

   The YouTube Partner Program usually earns around $1.00 to $3.00
   dollars for every 1,000 views of the "Don't Be Shy" video.

   Taking a range of $1.00 to $3.00 dollars per 1,000 views of the
   "Tiësto & Karol G - Don't Be Shy (Official Behind The Scenes),"
   we can calculate an approximate estimate of the earnings
   generated by this music video with 8,795,053 views. The
   multiplication is based on $3.00 due to the prominence that
   YouTube has for paying mega-artists like Tiësto & Karol G, and
   it was calculated on Tuesday, August 22, 2023, as follows:

   Estimated minimum earnings:
   8,795,053 views
   1,000 views at $1.00 = $8,795.53

   Estimated maximum earnings:
   8,795,053 views
   1,000 views at $3.00 = $26,385.15




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   XIV. EXTENT OF PLAGIARISM AND/OR UNAUTHORIZED COPYING OF "DON'T
   BE SHY"

   The artists, composers, and record label have continued to
   create new versions, sequels, countless remixes, shows, and
   performances worldwide, making "Don't Be Shy" a trending
   phenomenon without any authorization and massively extending the
   plagiarism. The damages, harm, and violations to the copyright
   holder have significantly increased due to these extensions of
   plagiarism resulting from the publication of the plagiarized
   version of "Don't Be Shy."

   [a] These publications violate the rights of the Copyright
   Holder by omitting the true name of the composition and song,
   "Algo Diferente."

   [b] These publications violate the rights of the Copyright
   Holder by omitting the name of the true author.

   [c] These publications violate the Right of Reproduction
   (Section 106(1)) of the Copyright Holder.

   [d] These publications violate the Right of Distribution
   (Section 106(3)) of the Copyright Holder.

   [e] These publications violate the Right of Public Performance
   (Section 106(4)) of the Copyright Holder.

   [f] These publications violate the Right of Digital Public
   Performance (Section 106(6)) of the Copyright Holder.

   [g] These publications violate the Right to Create Derivative
   Works (Section 106(2)) of the Copyright Holder.

   [h] These publications violate the Right of Performance (Section
   106(4)) of the Copyright Holder.

   [i] These publications violate the Right of Public Display
   (Section 106(5)) of the Copyright Holder.

   [j] These publications violate Moral Rights (Section 106A) of
   the Copyright Holder. The damages, harm, and violations to the
   copyright holder and the extensive plagiarism and/or
   unauthorized copying of "Don't Be Shy" are estimated at
   $5,000,000.00 Million dollars.




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   XV. MASSIVE INFRINGEMENTS:

   The violations of the copyright holder of the original song
   titled "Algo Diferente," with the worldwide publication and
   release of the plagiarized song "Don't Be Shy," have spread
   massively across all networks worldwide. Numerous artists and
   musicians have uploaded versions of the song in various
   instrumentations to countless platforms, illegally using the
   composition "Algo Diferente" in the plagiarism of "Don't Be
   Shy." The damages, harm, and violations to the copyright holder
   have significantly increased due to these massive infringements
   resulting from the publication of the plagiarized version of
   "Don't Be Shy."

   [a] These publications violate the rights of the Copyright
   Holder by omitting the true name of the composition and song,
   "Algo Diferente."

   [b] These publications violate the rights of the Copyright
   Holder by omitting the name of the true author.

   [c] These publications violate the Right of Reproduction
   (Section 106(1)) of the Copyright Holder.

   [d] These publications violate the Right of Distribution
   (Section 106(3)) of the Copyright Holder.

   [e] These publications violate the Right of Public Performance
   (Section 106(4)) of the Copyright Holder.

   [f] These publications violate the Right of Digital Public
   Performance (Section 106(6)) of the Copyright Holder.

   [g] These publications violate the Right to Create Derivative
   Works (Section 106(2)) of the Copyright Holder.

   [h] These publications violate the Right of Performance (Section
   106(4)) of the Copyright Holder.

   [i] These publications violate the Right of Public Display
   (Section 106(5)) of the Copyright Holder.

   [j] These publications violate Moral Rights (Section 106A) of
   the Copyright Holder. The damages, harm, and violations to the
   copyright holder and the massive spread across all networks
   worldwide of the plagiarism and/or unauthorized copying of
   "Don't Be Shy" are estimated at $5,000,000.00 Million dollars.




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   XVI. VIOLATIONS OF MONETARY RIGHTS

   In this case of plagiarism of the song titled "Algo Diferente"
   in the plagiarized work "Don't Be Shy," protected under Title 17
   of the United States Copyright Act, several exclusive monetary
   rights granted to René Lorente, the original author of the
   composition "Algo Diferente," and the copyright holder, are
   violated. These exclusive rights include:

   Right of Reproduction (Section 106(1)): Right of Distribution
   (Section 106(3)): Right of Public Performance (Section 106(4)):
   Right of Digital Public Performance (Section 106(6)): Right to
   Create Derivative Works (Section 106(2)): Right of Performance
   (Section 106(4)): Right of Public Display (Section 106(5)): The
   damages, harm, and violations to the copyright holder for the
   monetary rights violations due to the plagiarism and/or
   unauthorized copying of "Don't Be Shy" are estimated at
   $5,000,000.00 Million dollars.

   XVII. MORAL RIGHTS VIOLATIONS

   In this case of plagiarism of the song titled "Algo Diferente"
   in the plagiarized work "Don't Be Shy," protected under Title 17
   of the United States Copyright Act, several exclusive moral
   rights granted to René Lorente, the original author of the
   composition "Algo Diferente," and the copyright holder, are
   violated. These exclusive rights include:

   XVII. MORAL RIGHTS (Section 106A):
   The damages, harm, and violations to the copyright holder for
   the Moral Rights violations due to the plagiarism and/or
   unauthorized copying of "Don't Be Shy" are estimated at
   $5,000,000.00 Million dollars.

   XVIII. DEFENDANT'S PROFITS:
   From the economic gains that the infringer obtained directly and
   unlawfully as a result of the plagiarism, compensation is
   estimated for the Copyright Holder at $2,000,000.00 Million
   dollars.

   XIX. BENEFITS FROM SOUNDEXCHANGE:
   From the economic gains that the infringer obtained directly and
   unlawfully from SoundExchange as a result of the plagiarism,
   compensation is estimated for the Copyright Holder at
   $2,000,000.00 Million dollars.




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   XX. ATTORNEY'S FEES AND COSTS:
   Request for the infringer to cover the attorney's fees and legal
   costs incurred as part of the legal process, especially in this
   case of intentional or willful infringement.




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   XXI. TOTAL DAMAGES AND HARM, COPYRIGHT VIOLATION, PLAGIARISM,
   MORAL AND MONETARY RIGHTS.

   Actual Damages                                       $ 2,000,000.00

   Extent of Plagiarism                                 $ 5,000,000.00

   Massive Infringements                                $ 5,000,000.00

   Monetary Rights                                      $ 5,000,000.00

   Moral Rights                                         $ 5,000,000.00

   Other Benefits                                       $ 2,000,000.00

   Copyright Royalties - Single "Don't Be Shy"          $   560,000.00
   Copyright Royalties - Drive "Don't Be Shy"           $   649,600.00

   Copyright Royalties - Spotify "Don't Be Shy" $ 2,000,000.00

   Copyright Royalties                                  $ 2,000,000.00

   Copyright Royalties Remixes                          $ 2,000,000.00

   Artistic Royalties for Master                        $ 4,000,000.00

   Artistic Royalties for Master Remixes                $ 4,000,000.00

   SoundExchange                                        $ 2,000,000.00

   Other Digital Platforms "Don't Be Shy"       $ 4,000,000.00
   Vinyl, Apple Music, iTunes Store, Amazon,
   Pandora, SoundCloud, Tidal, Deezer, Napster,
   Amazon Music Official Music

   Video I "Don't Be Shy"                               $ 1,178,927.47

   Official Music Video II "Don't Be Shy"               $    87,666.18

   Official Music Video –
   Behind The Scenes "Don't Be Shy"                     $    26,385.15

   Attorney's Fees $

   Sub-Total ( preliminary )                            $ 46,502,578.80




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   XXII. FINAL CONCLUSION

   In summary, in this Expert Report, I have conducted a
   comprehensive investigation into matters related to the
   violation of the Copyright Holder and Plagiarism concerning the
   original song composed in the year 1998 and titled: "Algo
   Diferente" by composer René Lorente, and the plagiarism titled:
   "Don't Be Shy" by composers Tijs Michiel Verwest, Carolina
   Giraldo Navarro, Yoshi L H Breen, Teemu William Brunila, and
   Jonas David Kroper, performed and globally popularized by
   artists Tiësto and Karol G.

   Through a detailed analysis of the musical, lyrical, and
   structural elements of both songs, it has been determined that
   there are undeniable significant similarities that go beyond the
   boundaries of common influence or casual coincidence. In the
   realm of the arts, "coincidences" are highly improbable.

   Hence, any resemblance stemming entirely is merely plagiarism, a
   copy, a theft, an encroachment upon the rights of the Copyright
   Holder, or a violation of copyright. These resemblances
   encompass distinctive melodic elements, harmonic progressions,
   and lyrical structures that certify a direct relationship
   between both compositions.

   From an expert perspective, I have thoroughly examined the scope
   of copyright and the laws governing intellectual property
   protection. Through this evaluation, I have found that the
   creative and unique elements of "Algo Diferente" have been
   substantially incorporated into "Don't Be Shy," thereby giving
   rise to a copyright infringement and plagiarism of the song and
   composition.

   The assessment of damages has taken into account factors such as
   potential impact on the reputation and careers of the involved
   artists and composers, as well as the loss of income and moral
   damages associated with copyright infringement and plagiarism,
   extensive proliferation of plagiarism, and ongoing plagiarism.

   Furthermore, regarding the fraudulent obtaining of the ASCAP
   award granted to Teemu William Brunila for the song "Don't Be
   Shy," it could be fraudulent since the implicated song has been
   identified as a plagiarism of the song "Algo Diferente."




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